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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

                                                 Case No. 2:23-md-3080 (BRM)(RLS)

  IN RE: INSULIN PRICING                         MDL No. 3080
  LITIGATION



  This Document Relates to:

  The State of Mississippi, ex gel. Lynn
  Fitch, Attorney General v. Eli Lilly and
  Company, et al.
  Case No. 2:23-cv-04364 (BRM)(RLS)



                     DECLARATION OF ANDREW YAPHE
               IN SUPPORT OF MANUFACTURER DEFENDANTS'
                MOTION FOR JUDGMENT ON THE PLEADINGS


        I, Andrew Yaphe, hereby declare as follows:

        1.     I am an attorney with the law firm Davis Polk &Wardwell LLP,

  counsel for defendant Novo Nordisk Inc. in the above-captioned matter, licensed to

  practice law in the State of California and admitted to this Court pro I~ac vice.

        2.     On behalf of Defendants Eli Lilly and Company, Novo Nordisk Inc.,

  and Sanofi-Aventis U.S. LLC (collectively, "Manufacturers"), I submit this

  Declaration in support of Manufacturer Defendants' Motion for Judgment on the

  Pleadings.




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        3.     Attached hereto as Exhibit 1 is a true and correct excerpted copy of

  the United States Senate Committee on Finance staff report, titled "Insulin:

  Examining the Factors Driving the Rising Cost of a Century Old Drug," published

  on January 14, 2021, full text available online at https://www.finance.senate.gov/

  imo/media/doc/Grassley-Wyden%20Insulin%20Report%20(FINAL%201).pdf.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed ~,ii June 5, 2024 a~ 1VYerii~ Park, C~.




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                    EXHIBIT 1
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  United States Senate
  Senate Finance Committee
                                               Charles E. Grassley, Chairman
                                                Ron Wyden, Ranking Member




                             Insulin:
     Examining the Factors Driving the
     Rising Cost of a Century Old Drug

                             Staff Report
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           According to internal memoranda prepared for Eli Lilly’s executive committee, in
  November 2016, the company assumed its “core insulins” would earn revenue of $3.3 billion in
  2017 ($4 billion worldwide). 66 In order to achieve these results, Eli Lilly sought to improve its
  competitive position with respect to its key brands and planned to devote a majority of its R&D
  spending on clinical trials for existing Type 2 diabetes drugs—Jardiance, 67 Tranjenta, 68 and
  Trulicity 69—the last of which was Eli Lilly’s “largest growth driver.” 70 Indeed, according to Eli
  Lilly, “Trulicity has been a catalyst . . . with growth driven by investments in [direct to
  consumer], sales force reach, and access.” 71 These post-marketing clinical trials were intended to
  show that the therapy helped reduce incidence of cardiovascular disease which allowed Eli Lilly
  to seek an expansion of its FDA label indication. 72 However, even with these significant studies,
  the company’s R&D spending for its entire diabetes franchise was budgeted to be just one-third
  of its sales, goods and administrative expenses, and, in fact, less than the cost of a single line
  item—Eli Lilly’s global diabetes salesforce. 73 The following table details Eli Lilly’s funded
  initiatives and sales force spending between 2017 and 2018. 74




  66
     LLY-SFCOM-UR-00006920; LLY-SFCOM-UR-00006921; LLY-SFCOM-UR-00006924, at LLY-SFCOM-UR-
  00006925.
  67
     Press Release, Eli Lilly, Jardiance meets primary endpoint in reducing risk of cardiovascular death or
  hospitalization for heart failure in phase III clinical trial in adults with and without diabetes (July 2020),
  https://investor.lilly.com/news-releases/news-release-details/jardiancer-meets-primary-endpoint-reducing-risk-
  cardiovascular.
  68
     Press Release, Eli Lilly, Boehringer Ingelheim and Lilly full results of Tradjenta’s CARMELINA cardiovascular
  outcome trial (Oct. 4, 2018), https://investor.lilly.com/news-releases/news-release-details/boehringer-ingelheim-and-
  lilly-present-full-results-tradjentars.
  69
     Press Release, Eli Lilly, Trulicity significantly reduced major cardiovascular events for broad range of people
  with type 2 diabetes (Jul. 9, 2019), https://investor.lilly.com/news-releases/news-release-details/trulicityr-
  dulaglutide-significantly-reduced-major.
  70
     LLY-SFCOM-UR-00006924, at LLY-SFCOM-UR-00006952.
  71
     LLY-SFCOM-UR-00006921, at LLY-SFCOM-UR-00006922. Trulicity, Jaridance and Trajenta are marketed and
  manufactured in partnership with Boehringer Ingelheim.
  72
     For example, in February 2020, Eli Lilly announced that the FDA approved Trulicity for the reduction of major
  adverse cardiovascular events in adults with type 2 diabetes. According to Eli Lilly, this new indication makes
  Trulicity the only type 2 medicine approved to reduce these risks. See Press Release, Eli Lilly, Trulicity is the first
  and only type 2 diabetes medicine approved to reduce cardiovascular events in adults with and without established
  cardiovascular disease (Feb. 21, 2020), https://investor.lilly.com/news-releases/news-release-details/trulicityr-
  dulaglutide-first-and-only-type-2-diabetes-medicine. LLY-SFCOM-UR-00006921; LLY-SFCOM-UR-00006924, at
  LLY-SFCOM-UR-00006952.
  73
     LLY-SFCOM-00000045; LLY-SFCOM-00002499; LLY-SFCOM-UR-00006921; LLY-SFCOM-UR-00006924,
  at LLY-SFCOM-UR-00006952.
  74
     LLY-SFCOM-UR-00006924, at LLY-SFCOM-UR-00006952.


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                                 2. Sanofi

          In response to the Committee’s request, Sanofi estimated that it had invested
  approximately $4.5 billion in diabetes, which includes both insulin and non-insulin products,
  between 2012 and 2018, noting that it spent $800 million in 2018 on diabetes alone. 75 Sanofi
  only provided R&D product-specific data for 2014 to 2018, and limited the data to five insulin
  products. 76 Therefore, the Committee was unable to confirm Sanofi’s total R&D spending on its
  diabetes franchises. However, R&D spending (which was reported to the Committee in dollars)
  on these five diabetes products accounted for a fraction of the company’s reported revenue from
  its diabetes franchise, as reported to the U.S. Securities and Exchange Commission. 77 From 2014
  to 2018, the company’s diabetes franchise generated nearly €31 billion in net sales



  75
     Letter from Jeffrey Handwerker, Counsel, Arnold & Porter, on Behalf of Sanofi, to Senator Grassley and Senator
  Wyden (Mar. 8, 2019).
  76
     Letter from Jeffrey Handwerker, Counsel, Arnold & Porter, on Behalf of Sanofi, to Senator Grassley and Senator
  Wyden (Mar. 29, 2019).
  77
     Id. Sanofi produced data regarding gross sales, net sales, and gross units by product line, which is how Sanofi
  tracks this information. Id.


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  (approximately $37 billion based on current currency conversion rates), 78 whereas R&D
  spending for these five insulin products was approximately $902 million. 79

                    Net Sales of Sanofi Diabetes Products in Millions of Euros (2014-2018)
                          2014           2015         2016           2017          2018 Total
       Admelog                                                              €        93 €         93
       Apidra      €       336 €          376 €        367 €          286 €         357    €   1,722
       Lantus      €     6,344 €        6,390 €      5,714 €        4,761 €       3,565    €  26,774
       Soliqua                                                              €        73 €         73
       Toujeo                     €       164 €        649 €          630 €         840    €   2,283
    Total         €     6,680 €        6,930 €         6,730 €        5,677 €         4,928   €     30,945
   Source: Securities and Exchange Commission. According to Sanofi, “[n]et sales comprise revenue
   from sales of pharmaceutical products, consumer healthcare products, active ingredients and vaccines,
   net of sales returns, of customer incentives and discounts, and of certain sales-based payments paid or
   payable to the healthcare authorities.” (Sanofi, 20-F, 2019)


                   Sanofi R&D Spending by Product in Millions of Dollars (2014-2018)
                             2014         2015        2016        2017        2018 Total
          Admelog      $ 24.45       $ 54.53     $ 38.25     $ 11.26      $ 6.15    $ 134.64
          Apidra       $ 2.31        $ 5.47      $ 3.64      $ 1.36       $ 1.04    $    13.82
          Lantus       $ 42.79       $ 21.95     $ 20.76     $ 16.44      $ 8.24    $ 110.18
          Soliqua      $       -     $ 1.03      $ 40.94     $ 70.76      $ 68.74   $ 181.47
          Toujeo       $ 67.53       $ 72.45     $ 150.25    $ 117.84     $ 54.43   $ 462.50
          Total        $ 137.08      $ 155.43    $ 253.84    $ 217.66     $ 138.60  $ 902.61
          Source: Letter to Senator Grassley and Senator Wyden from Jeffrey Handwerker, Counsel,
          Sanofi (March 29, 2019).

                               3. Novo Nordisk

         Novo Nordisk failed to provide a detailed accounting of its R&D expenditures to the
  Committee. However, on its annual report submitted to the SEC, the company reported that it
  spent approximately 36 million Danish krone related to diabetes and obesity R&D between 2017
  and 2019. 80

                 b. Wholesale Distributors and Pharmacies
          Drugs are purchased directly by wholesale distributors and delivered to a variety of
  customers, including pharmacies, physicians, hospitals, and other medical facilities. Wholesale
  distributors negotiate with drug manufacturers for discounts off a drug’s list price, often referred


  78
     Sanofi reported net sales in Euros to the Securities and Exchange Commission.
  79
     Id.
  80
     See Novo Nordisk Annual Report 2019, NOVO NORDISK at 52 (2019),
  https://www.novonordisk.com/content/dam/nncorp/global/en/annual-report/pdfs/2019/Novo-Nordisk-Annual-
  Report-2019.pdf.


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